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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                    Case No. 19-cv-02588
               Plaintiff,
                                                    Judge Charles P. Kocoras
v.
                                                    Magistrate Judge Sidney I. Schenkier
LIN ZHEN, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on June 4, 2019 [43], in favor of

Plaintiff Chapter 4 Corp. (“Plaintiff”) and against the Defendants Identified in Schedule A in the

amount of one million dollars ($1,000,000) per Defaulting Defendant, and Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

              Defendant Name                                        Line No.
                zsweioutlet                                           203

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 18th day of July 2019.    Respectfully submitted,


                                     __/s/ Allyson M. Martin_______________
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